          Case 1:19-vv-01118-UNJ Document 25 Filed 02/26/21 Page 1 of 2



                                                CORRECTED

    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1118V
                                        UNPUBLISHED


    SUSAN WATSON,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: January 8, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On July 31, 2019, Susan Watson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
January 11, 2018. Petition at 1-2. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On January 8, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent that “petitioner has satisfied the criteria set forth in the
Vaccine Injury Table (‘Table’) and the Qualifications and Aids to Interpretation (‘QAI’).

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-01118-UNJ Document 25 Filed 02/26/21 Page 2 of 2




That is, petitioner had no relevant history of pain, inflammation or dysfunction in her left
shoulder; her pain and reduced range of motion occurred within 48 hours of receipt of an
intramuscular vaccination; her symptoms were limited to the shoulder in which the
vaccine was administered; and, no other condition or abnormality was identified to explain
her symptoms.” Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
